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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                           Plaintiffs,
       v.                                      BRIEF OF AMICI OREGON
                                               IMMIGRANT RIGHTS
                                               ORGANIZATIONS IN SUPPORT OF
                                               PLAINTIFFS’ MOTION FOR A
                                               PRELIMINARY INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                           Defendants.
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                         CORPORATE DISCLOSURE STATEMENT

        Amici curiae are nonprofit organizations. They have no parent corporations and do not

issue stock.

                                INTEREST OF AMICI CURIAE

        Amici are organizations in Oregon who collectively work together in the Oregon Ready

coalition or work in collaboration with that coalition. Amici work to further statewide inclusion

and create a stronger immigrant rights infrastructure in Oregon by combining community-based

organizing, immigrant defense work, immigrant rights policy development, and public discourse.

The issues raised in this case are of profound importance to the organizational missions of amici,

and they have a unique perspective on immigration, immigrant rights, and the Oregon immigrant

experience that may be helpful to the court in resolving the matter.

        Causa works to improve the lives of Latino immigrants and their families in Oregon

through advocacy, coalition building, leadership development, and civic engagement. Latino

immigrants and their families are the heart of Causa and inspire, implement, and champion Causa’s

work.

        El Programa Hispano Católico’s mission is to advance racial equity and social justice

through the power of Latinx culture, community and self-determination.

        Virginia Garcia Memorial Health Center’s mission is to provide high quality,

comprehensive, and culturally appropriate primary health care to the communities of Washington

and Yamhill counties, with a special emphasis on migrant and seasonal farmworkers and others

with barriers to receiving health care.

        Adelante Mujeres provides holistic education and empowerment opportunities to

marginalized Latina women and families to ensure full participation and active leadership in the

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community.

       Oregon Interfaith Movement for Immigrant Justice (IMIrJ) accompanies and equips

communities and people of faith to advance immigrant justice through direct accompaniment of

immigrants facing detention and deportation, policy advocacy at local, state and national levels,

and prophetic action. IMIrJ is an organization made up diverse faith communities, faith leaders,

and individuals called by their conscience to respond actively and publicly to the suffering of

immigrant brothers and sisters in the United States due to unjust immigration policies. Through

advocacy, accompaniment, and organizing, IMIrJ exposes the harm that these policies and actions

inflict on the entire community and takes radical action for the transformation of power, providing

real opportunities to take action for change. IMIrJ provides welcome and accompaniment to people

facing persecution and oppression and offers sanctuary for immigrants faced with family

separation, detention, and/or deportation.

       Centro Latino Americano works to empower Latino families of Lane County by providing

opportunities and building bridges for a stronger community. Centro Latino Americano’s vision is

a thriving, connected community where all people are valued.

       Catholic Charities Immigration Legal Services is a nonprofit law program providing low-

cost consultations and legal representation to immigrants and refugees throughout Oregon and

southwest Washington. Catholic Charities educates the public, immigrant communities, and the

organizations who serve them to promote justice for all newcomers and support conditions for

their full participation in American society. Catholic Charities provides legal representation

supporting family reunification and assistance to the most vulnerable immigrants and refugees,

including survivors of domestic violence, sexual assault, and human trafficking.



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       The Immigrant and Refugee Community Organization (IRCO) serves the holistic needs

of immigrants, refugees, and mainstream community members in Oregon and southwest

Washington. IRCO's mission is to promote the integration of refugees, immigrants, and the

community at large into a self-sufficient, healthy and inclusive multi-ethnic society. As a

community-based organization, IRCO empowers children, youth, families, and elders from

around the world to build new lives and become self-sufficient by providing more than 200

culturally and linguistically specific social services. IRCO’s vision is to be a leader of

community driven, innovative programs delivered by compassionate staff who create equitable

services that empower immigrants, refugees, and underserved communities.

       VIVA Inclusive Migrant Network is a non-profit organization that supports migrant

communities in Oregon. VIVA Inclusive Migrant Network’s mission is to empower their

community, educate, create immigrant right awareness and take actions against inhumane

immigration policies.

                                           INTRODUCTION

       Throughout our Nation’s history, our Presidents speak to bind us together as a Nation under

the promise of a “government of the people, by the people, for the people.” See, e.g., President

Abraham Lincoln, Gettysburg Address (Nov. 19, 1863).1 Over the decades, across political parties,

Presidents have emphasized the overarching, unifying principles of our Nationhood. See, e.g.,

President John F. Kennedy, Address on Civil Rights (Jun. 11, 1963) (“This is one country. It has

become one country because all of us and all the people who came here had an equal chance to



1
 Available at https://millercenter.org/the-presidency/presidential-speeches/november-19-1863-
gettysburg-address.


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develop their talents.”); 2 President Ronald Reagan, Second Inaugural Address (Jan. 21, 1985)

(“Let us resolve that we, the people, will build an American opportunity society in which all of

us—white and black, rich and poor, young and old—will go forward together, arm in arm. Again,

let us remember that though our heritage is one of blood lines from every corner of the Earth, we

are all Americans[.]”); 3 President George W. Bush, President Promotes Compassionate

Conservativism, San Jose, California (Apr. 30, 2002) (“Every immigrant can be fully and equally

American because we're one country. Race and color should not divide us, because America is one

country.”); 4 President Barack Obama, Address to the Nation on Immigration (Nov. 20, 2014)

(“[T]o be an American is about something more than what we look like, or what our last names

are, or how we worship. What makes us Americans is our shared commitment to an ideal—that all

of us are created equal, and all of us have the chance to make of our lives what we will.”).5 Again

and again, Presidents have spoken to espouse the shared principles of freedom and tolerance on

which this Nation was founded. See, e.g., Trump v. Hawai’i, 138 S.Ct. 2392, 2417-18 (2018)

(citing examples of Presidential statements of inclusion and cohesion).

       Not so for this “particular President.” Id. at 2402. President Trump began his presidential

campaign by denouncing Mexican immigrants as “rapists.”6 He allegedly commented that Haitian


2
  Available at https://millercenter.org/the-presidency/presidential-speeches/june-11-1963-
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immigrants “all have AIDS” and that Nigerian immigrants would never “go back to their huts”

after seeing the United States. 7 He has intentionally conflated Middle Eastern and Muslim

immigrants with terrorists and falsely claimed that most people convicted of terrorism in the U.S.

come from abroad.8 He has portrayed immigrants as criminals, invaders, and subhuman.9 He has

denounced immigrants as vermin pouring into and infesting the United States.10 He has railed




crime. As President, he has affirmed and doubled-down on his remarks. See Remarks by
President Trump at a Roundtable Discussion on Tax Reform (Apr. 5, 2018),
https://www.whitehouse.gov/briefings-statements/remarks-president-trump-roundtable-
discussion-tax-reform.
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  See Michael D. Shear & Julie Hirschfeld Davis, Stoking Fears, Trump Defied Bureaucracy to
Advance Immigration Agenda (Dec. 23, 2017),
https://www.nytimes.com/2017/12/23/us/politics/trump-immigration.html.
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  Hawaii, 138 S.Ct. at 2435–36 (Sotomayor, J., dissenting) (compiling statements “from which a
reasonable observer would readily conclude that the [travel ban] was motivated by hostility and
animus toward the Muslim faith”). More recently, the President claimed that “unknown Middle
Easterners” and “people . . . from the Middle East and other places that are not appropriate for
our country” were heading to the U.S. border. Scott Horsley, Fact Check: President Trump’s
False Claims on Migrant Caravan, Tax Cuts, National Public Radio (updated Oct. 23, 2018,
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“stone cold criminals”), https://twitter.com/realDonaldTrump/status/1067015026995879937;
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1, 2018) (describing the migrant caravans as “like an invasion”),
https://www.whitehouse.gov/briefings-statements/remarks-president-trump-illegal-immigration-
crisis-border-security; Scott Neuman, During Roundtable, Trump Calls Some Unauthorized
Immigrants ‘Animals’, National Public Radio (May 17, 2018) (reporting Trump’s statement that
“These aren’t people. These are animals.”), https://www.npr.org/sections/thetwo-
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   See David A. Graham, Trump Says Democrats Want Immigrants to ‘Infest’ the U.S., The
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against immigration from “shithole countries.”11 He ordered United States citizens, members of

congress who are people of color to “go back” to their countries.12

       Spoken by the President, these aren’t just words in a digital space. His words have impact—

injurious and immediate. His words have inspired white nationalist violence at the same time that

he has condoned the language of white nationalism.13 His stereotypes and insults have spurred

discrimination and endangered entire communities.14 And his inflammatory rhetoric has created

and deepened divisions within American society, with devastating results.15

       Spoken from the Office of the President, his words become policy.16 See James Madison

Project v. Department of Justice, No. 1:17–cv–00144, Def. Supp. Mem. at 4 (ECF No. 29) (D.D.C.

Nov. 13, 2017) (“[T]he government is treating the President's statements to which plaintiffs


11
   See Julie Hirschfeld Davis, Sheryl Gay Stolberg & Thomas Kaplan, Trump Alarms Lawmakers
With Disparaging Words for Haiti and Africa, N.Y. Times (Jan. 11, 2018),
https://www.nytimes.com/2018/01/11/us/politics/trump-shithole-countries.html.
12
   See Katie Rogers and Nicholas Fandos, Trump Tells Congresswomen to ‘Go Back’ to the
Countries They Came From, N.Y. Times (July 14, 2019),
https://www.nytimes.com/2019/07/14/us/politics/trump-twitter-squad-congress.html.
13
   See, e.g., Jake Shafer, How Trump Changed After Charlottesville, Politico (July 18, 2019),
https://www.politico.com/magazine/story/2019/07/18/donald-trump-racist-rally-227408; Peter
Baker & Michael D. Shear, El Paso Shooting Suspect’s Manifesto Echoes Trump’s Language,
N.Y. Times (Aug. 4, 2019), https://www.nytimes.com/2019/08/04/us/politics/trump-mass-
shootings.html.
14
   See David Leonhardt & Ian Prasad Philbrick, Donald Trump’s Racism: The Definitive List,
Updated, NY Times (Jan. 15, 2018),
https://www.nytimes.com/interactive/2018/01/15/opinion/leonhardt-trump-racist.html.
15
   See Michael Kunzelman and Astrid Galvan, Trump words linked to more hate crime? Some
experts think so, AP News (Aug. 7, 2019),
https://apnews.com/7d0949974b1648a2bb592cab1f85aa16; Griffin Sims Edwards and Stephen
Rushin, The Effect of President Trump's Election on Hate Crimes (Jan. 14, 2018),
https://ssrn.com/abstract=3102652.
16
   See Jayashri Srikantiah & Shirin Sinnar, White Nationalism as Immigration Policy, Stanford
Law Online Review (March 2019) (itemizing immigration policies enacted by the Trump
Administration), https://www.stanfordlawreview.org/online/white-nationalism-as-immigration-
policy/.


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point—whether by tweet, speech or interview—as official statements of the President of the United

States.”); see also Daphna Renan, Presidential Norms and Article II, 131 Harvard L. Rev. 2187,

2267 (2019) (“[D]oes this particular President’s expressions of anti-Muslim and anti-immigrant

animus or cumulative anti-constitutional behavior raise concerns about the functioning of the

institutional presidency itself?”).

        The October 4, 2019 Proclamation is just another manifestation of this trend.

        Oregon’s collective prosperity depends on all of us: hand in hand, Oregonian to Oregonian.

Amici are organizations dedicated to protecting Oregon’s collective prosperity by building a

human network of people who care about each other and help each other. This network is an anti-

thesis to the President’s divisive, zero-sum view of immigrants and America.17 Amici explain here

that while the Proclamation’s impact is immediate, its impact on the Oregon immigrant community

is magnified by the cumulative nature of the Trump Administration’s assaults on the immigrants.

                                               ARGUMENT

I.      THROUGH OREGON’S EMPHASIS ON IMMIGRANT INCLUSION, THE
        STATE ADVANCES ITS COLLECTIVE PROSPERITY.

        The State of Oregon is an “inclusive jurisdiction that embraces, celebrates, and welcomes

its immigrant and refugee residents and recognizes their contributions to the collective prosperity

of all Oregonians.” Or. Exec. Order No. 17-04, ¶ 2 (Feb. 2 2017).18 That we each have a hand in

creating this prosperous vision of our state has not always been true. Historically, “Oregon has



17
   Trump’s Backward View of Immigration, N.Y. Times (Feb. 7, 2018) (stating that the
President’s views “stem from a nativist, zero-sum view that what’s good for immigrants is bad
for America”), https://www.nytimes.com/2018/02/07/opinion/trump-backward-
immigration.html.
18
   Available at https://www.oregon.gov/gov/Documents/executive_orders/eo_17-04.pdf.


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struggled with exclusionary policies against immigrants and communities of color.”19 Oregon is

the only state in the United States that began explicitly as “whites only.”20 Oregon’s history of

racial exclusion includes immigrant communities. One of the most brutal attacks against early

Chinese immigrants occurred in Oregon in 1887, when over thirty Chinese gold miners were

ambushed and murdered along the Snake River.21 Discriminatory treatment extended to Japanese

immigrants in the early 1900s, including barring Japanese immigrants from owning land and

facilitating the internment of Japanese-Americans.22 Oregon’s Latino community was frequently

targeted including policies intended to remove Mexican immigrants from the region.23

       But that is not all of Oregon. As amici know, “Oregon is an inspiration. Whether you come

to it, or are born to it, you become entranced by our state's beauty, the opportunity she affords, and

the independent spirit of her citizens.” See Gov. Tom McCall, Address to Oregon Legislative

Assembly (Jan. 8, 1973). 24 For amici, their work is woven into the fabric of Oregon and the

principle of working to support our collective prosperity—that we are all in this together—is a

core feature of their programs and civic engagement. The work of amici centers on bringing all

the people of Oregon together to work together for our collective prosperity. It is this work that

informs their opposition to the President’s Proclamation, which “runs counter not just to the best



19
   Tess Hellgren, Rebekah Friesen & Stephen Manning, Belong: Strengthening Oregon’s
Disentanglement Statute to Enhance Public Safety, Protect Fundamental Rights, and Promote
Collective Prosperity, Innovation Law Lab, 1 (2018), https://innovationlawlab.org/belong-report-
inclusion-2018/.
20
   Id. at 3 (describing Oregon exclusionary laws).
21
   Id. at 4.
22
   Id.
23
   Id.
24
   Available at https://oregonhistoryproject.org/articles/tom-mccalls-copy-of-his-speech-to-the-
oregon-legislative-assembly-1973/.


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of American tradition and principles, but to evidence of what’s best for the country.”25 For the

State of Oregon, like the nation, we are better off as a whole when we work together.

       Data supports what amici and Oregonians know: that immigrants are an integral part of the

fabric of our state. One in ten Oregon residents is an immigrant—more than 400,000 Oregonians

in total. 26 Nearly half of Oregon’s foreign-born population have become naturalized U.S.

citizens.27 A huge number of Oregon families have mixed citizenship statuses: of the more than

825,000 Oregon children who are American citizens born in the United States, nearly 200,000

have at least one parent who is an immigrant.28

       Immigrant Oregonians and their families contribute immensely not only to the community

vibrancy of our state, but also to its economic health. Immigrants comprise more than 13% of

Oregon’s workforce.29 69.6% of foreign-born Oregonians and 71.2% of noncitizen Oregonians are

in the civilian work force, compared to 61.3% of U.S.-born Oregonians. 30 Foreign-born and

noncitizen Oregonians are also unemployed at lower rates than U.S.-born Oregonians.31 In 2014,

immigrant-led households in Oregon paid $1.7 billion in federal taxes and $736.6 million in state

taxes.32 Oregon residents in these same households had $7.4 billion in spending power (after-tax


25
   See Trump’s Backward View, N.Y. Times.
26
   Migration Policy Institute, State Immigration Data Profiles: Oregon – Demographics and
Social (2017 data), https://www.migrationpolicy.org/data/state-profiles/state/demographics/OR
(accessed Nov. 11, 2019).
27
   Id.
28
   Id.
29
   Migration Policy Institute, State Immigration Data Profiles: Oregon – Workforce (2017 data),
https://www.migrationpolicy.org/data/state-profiles/state/workforce/OR (accessed Nov. 11,
2019).
30
   Id.
31
   Id.
32
   American Immigration Council, Immigrants in Oregon, Fact Sheet (Sept. 15, 2017),
https://www.americanimmigrationcouncil.org/research/immigrants-oregon.


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income in 2014).33 And in 2015, over 28,000 immigrant business owners in Oregon generated

$470.6 million in business income.34

           Through the Oregon Ready coalition, amici work to empower immigrant Oregonians to

contribute to the state’s community vitality and collective prosperity. For example, Centro Latino

Americano runs the Empowered Families Program, Familias Poderosas, which helps members of

Latino families strengthen their civic involvement and engage with systems to affect change in

their communities. IRCO provides programs that foster early childhood development as well as

employment programs that include job coaching, development and placement, vocational training

and certification courses, and retention services. Adelante Mujeres’ Empresas program supports

Latino immigrant entrepreneurs, including an eleven-week small business development course

with technical assistance and one-on-one coaching. And the Virginia Garcia Memorial Health

Center supports immigrants’ access to basic health services through assistance with insurance

eligibility and enrollment, home visits, parenting classes, and a chronic diseases health education

program for patients and community members.

II.        THE   PROCLAMATION’S   UNSUPPORTED     ASSERTIONS   ARE  A
           DISTRACTION FROM THE PRESIDENT’S REAL PURPOSE: TO DISRUPT
           THE FAMILY REUNIFICATION SYSTEM IN FAVOR OF WHITE, WEALTHY
           PEOPLE

           On its face, the Proclamation’s purpose is to address the financial burden of

uncompensated health care within the United States. The Proclamation asserts that “healthcare

providers and taxpayers bear substantial costs in paying for medical expenses incurred by people

who lack health insurance or the ability to pay for their healthcare.” Proclamation No. 9945, 84



33
     Id.
34
     Id.

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Fed. Reg. 53,991 (Oct. 9, 2019). It reasons that due to the burden of uncompensated care costs

and the reliance of uninsured individuals on publicly funded programs, the U.S. health care

system would be improved by barring immigrants—specifically, almost exclusively those

immigrants seeking visas abroad under the Congressionally established family reunification

system, including family members who have suffered from violent crimes and domestic

violence. These unsupported, irrational assertions are readily undermined by reality. Moreover,

they are a distraction from the Proclamation’s actual objective: to shut down the Congress’

precise and comprehensive framework for family reunification because of the President’s animus

against immigrants of color.

       A.      The Proclamation is Based on Unsupported and Irrational Assertions

       The Proclamation’s preamble consists of a mere four paragraphs, concluding with the claim

that “[c]ontinuing to allow entry into the United States of certain immigrants who lack health

insurance or the demonstrated ability to pay for their healthcare would be detrimental” to the U.S.

healthcare system and American taxpayers. Id. Yet the Proclamation fails to ever actually link

recent immigrants to the Proclamation’s purported national interests. The Proclamation’s short

preamble merely claims that uninsured individuals, in general, burden the country’s health care

system. Notably, only one sentence of the Proclamation cites any evidence that speaks to lawful

immigrants’ actual interaction with the U.S. healthcare system: an unreferenced statement that

unidentified “data” show “that lawful immigrants are about three times more likely than United

States citizens to lack health insurance.” Id. This unsupported statistic, even if true, does not

actually show that uninsured lawful immigrants are actually “saddl[ing] our healthcare system,

and subsequently American taxpayers, with higher costs.” Id.



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       The Proclamation’s unsupported assertions are particularly irrational when considered in

light of actual data about uninsured immigrants’ use of the nation’s healthcare system. Data

based on the health insurance status of recent immigrants reveal that uninsured recent

immigrants represent about 0.3% of the adult American population and only 2.9% of all

uninsured adults in the United States.35 They incur less than one-tenth of one percent of total

U.S. medical expenditures.36 Even if the Proclamation’s uncited estimates of uncompensated

care costs are correct, Defendants have not made any factual findings to show the percentage—if

any—of these costs attributable to the tiny percentage of uninsured recent lawful immigrants.

Therefore, the Proclamation represents a paradigm example of irrational and arbitrary

policymaking.

       B.       The Proclamation’s Purpose is to Disrupt Congress’ Comprehensive Family
                Reunification System

       The Proclamation’s unsupported assertions may be fairly categorized as a “distraction”

from the President’s real purpose: to initiate the shutdown of the family reunification system. See

Dep't of Commerce v. New York, 139 S. Ct. 2551, 2576 (2019) (finding, in the context of reviewing

agency action, that “we cannot ignore the disconnect between the decision made and the

explanation given”). The President has made plain his desire to shut down the very immigration

programs Congress designed to make legal immigration more diverse and humane. Yet through

the Proclamation, the President seeks to end-run Congress and effectively shut down the family

reunification system anyway.


35
   See Decl. of Leighton Ku, ECF 54 at 4, 10. Dr. Ku is a Professor of Health Policy and
Management and Director of the Center for Health Policy Research at the George Washington
University’s Milken Institute School of Public Health. He is a nationally-known health policy
researcher with over 25 years of experience.
36
   Id.

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          The Proclamation is President Trump’s latest attempt to upend the nation’s family

reunification system codified by Congress in the Immigration and Nationality Act. Since taking

office in 2017, President Trump has repeatedly vilified family-based immigration and has sought

to restrict visas lawfully issued to reunify families. He has described “chain migration” of family

members as “a disaster, and very unfair to our country.”37 Calling the family reunification system

“the worst laws,” he has claimed that family members immigrating to the United States are

“contrary to our national interest and national security.”38 At the same time, Trump has overseen

significant delays in the approval of immigration-related applications. Within U.S. Citizenship and

Immigration Services (USCIS), the overall average case processing time increased by 46% over

the past two fiscal years—including increasing substantially in FY 2018 despite a marked decrease

in the number of cases received by the agency.39 Delays have been even worse for some of the

most vulnerable individuals: for domestic abuse survivors and abandoned children who qualify for

immigration relief, there was a 181% increase in their visa processing time from FY 2016 to FY

2018.40




37
   Meghan Keneally, 8 times Trump slammed ‘chain migration’ before it apparently helped
wife’s parents become citizens, ABC News (Aug. 10, 2018), https://abcnews.go.com/US/times-
trump-slammed-chain-migration-apparently-helped-wifes/story?id=57132429; see also Dara
Lind, What “chain migration” really means – and why Donald Trump hates it so much, Vox
(Jan. 30, 2018), https://www.vox.com/policy-and-politics/2017/12/29/16504272/chain-
migration-family-how-trump-end.
38
   See Keneally; President Donald Trump, National Security Strategy of the United States of
America, 9 (Dec. 2017), https://www.whitehouse.gov/wp-content/uploads/2017/12/NSS-Final-
12-18-2017-0905.pdf.
39
   Jason Boyd & Greg Chen, AILA Policy Brief: USCIS Processing Delays Have Reached Crisis
Levels Under the Trump Administration, American Immigration Lawyers Association, 1 (Jan.
30, 2019), https://www.aila.org/File/DownloadEmbeddedFile/79015.
40
   Id. at 7.


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       The President has also pursued a series of policies to actively, systematically undermine

Congress’s family reunification system. As of 2018, new policies allow USCIS to deny

immigration applications outright for even minor omissions or errors, then refer applicants—

including applicants seeking family reunification or protection from domestic abuse—straight to

deportation proceedings.41 The President has also attempted to expand the definition of the “public

charge” grounds to dramatically limit the admission of immigrants under the family reunification

system. 42 Under the DHS’ new rule—currently enjoined—nearly 70% of immigrants granted

lawful permanent residence over the past five years would have demonstrated at least one negative

factor weighing against their admission.43 In line with the President’s repeated attacks on Mexican

and Central American immigrants, research shows that the public-charge rule would likely also

result in a shift in green card recipients, “away from Mexico and Central America (the origin group



41
   USCIS, Issuance of Certain RFEs and NOIDs; Revisions to Adjudicator’s Field Manual
(AFM) Chapter 10.5(a), Chapter 10.5(b), Policy Memorandum PM-602-0163 (Jul. 13, 2018),
https://www.uscis.gov/sites/default/files/USCIS/Laws/Memoranda/AFM_10_Standards_for_RF
Es_and_NOIDs_FINAL2.pdf; USCIS, Updated Guidance for the Referral of Cases and Issuance
of Notices to Appear (NTAs) in Cases Involving Inadmissible and Deportable Aliens, Policy
Memorandum PM-602-0050.1 (Jun. 28, 2018),
https://www.uscis.gov/sites/default/files/USCIS/Laws/Memoranda/2018/2018-06-28-PM-602-
0050.1-Guidance-for-Referral-of-Cases-and-Issuance-of-NTA.pdf.
42
   U.S. Department of Homeland Security, Inadmissibility on Public Charge Grounds, Final
Rule, 84 Fed. Reg. 41292 (Aug. 14, 2019), https://federalregister.gov/d/2019-171/.
43
   Laurel Wamsley, Pam Fessler, & Richard Gonzalez, Federal Judges in 3 States Block Trump’s
‘Public Charge’ Rule for Green Cards, National Public Radio (Oct. 11, 2019),
https://www.npr.org/2019/10/11/769376154/n-y-judge-blocks-trump-administrations-public-
charge-rule; Jeanne Batalove, Michael Fix, & Mark Greenberg, Millions Will Feel Chilling
Effects of U.S. Public-Charge Rule That Is Also Likely to Reshape Legal Immigration, Migration
Policy Institute (Aug. 2019), https://www.migrationpolicy.org/news/chilling-effects-us-public-
charge-rule-commentary; Randy Capps, Mark Greenberg, Michael Fix, & Jie Zong, Gauging the
Impact of DHS’ Proposed Public-Charge Rule on U.S. Immigration, Migration Policy Institute
(Nov. 2018), https://www.migrationpolicy.org/research/impact-dhs-public-charge-rule-
immigration.


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whose members are most likely to have the negative factors set out in the proposed rule) and

toward other world regions, especially Europe.”44

       The impact of the current Proclamation on the family reunification system is immense. By

allowing visas to be denied based on the single factor of healthcare coverage, the Proclamation

sets out an even more restrictive test than the public-charge rule.45 The U.S. Department of State

estimates that 450,500 people would be subject to the Proclamation’s terms. U.S. Department of

State, Notice of Information Collection Under OMB Emergency Review: Immigrant Health

Insurance Coverage, 84 Fed. Reg. 58,199 (Oct. 30, 2019). 46 Of those, nearly 300,000 people

would be denied visas.47 The Proclamation’s implementation would mean that “this policy alone

might reduce the number of legal immigrants to the United States by about 55 percent.”48

       Through this Proclamation, the President seeks to undermine the very basis of the family

reunification system established by Congress in the Immigration and Nationality Act. On the basis

of a single arbitrary factor—health insurance coverage—the President prevents visa applicants

from reunifying with family members in the United States, unless they can pass the unspecified

wealth-based test of “possess[ing] the financial resources to pay for reasonably foreseeable

medical costs.” 84 Fed. Reg. 53,991.




44
   Capps et al. at 3.
45
   See Julia Gelatt & Mark Greenberg, Health Insurance Test for Green-Card Applicants Could
Sharply Cut Future U.S. Legal Immigration, Migration Policy Institute (Oct. 2019),
https://www.migrationpolicy.org/news/health-insurance-test-green-card-applicants-could-
sharply-cut-future-us-legal-immigration.
46
   Available at https://www.federalregister.gov/d/2019-23639.
47
   Ku Decl., ECF 54 at 4 (explaining that “the President’s policy could reduce the number of
visas approved for legal immigration by more than half, or 293,000 persons per year, because
they lack the approved forms of insurance”).
48
   Id. at 12.

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III.   THE CUMULATIVE NATURE OF THE PRESIDENT’S UNRELENTING
       ASSAULTS ON IMMIGRANT COMMUNITIES IMPACTS AMICI.

       The impact of the President’s Proclamation would be devastating to Oregon’s families,

communities, and collective prosperity, as Amici are uniquely positioned to attest.

       The President’s unrelenting assaults on immigrant communities have already taken a toll

on Oregon’s communities and economy, both locally and statewide. Increasingly aggressive

immigration enforcement actions have caused many Oregon residents to fear sending their children

to school or even leaving the house to buy groceries.49 Since 2017, for example, ICE has executed

or planned enforcement actions at state courthouses that serve nearly three million Oregonians—

71 percent of the state’s residents.50 As one school superintendent explained, “[a]lmost everybody

in town is impacted” by the fear of immigration raids. 51 In the agricultural sector, fear of

deportation has led to “record labor shortages in the mid-Willamette Valley and also statewide.”52

As organizations that serve Oregon’s immigrant communities and, in many cases, are themselves

made up of immigrant staff and membership, Amici have uniquely felt and observed the impact of

this cumulative assault on immigrants.

       Amicus Virginia Garcia Memorial Health Center (Virginia Garcia), founded in 1975 in

response to a farm worker child’s tragic death, provides high quality, comprehensive and culturally


49
   Katherine Cole, How Labor Challenges Affected the 2019 Grape Harvest, SevenFiftyDaily
(Nov. 4, 2019) (describing ICE officials “using brute force and pepper spray to detain people
they suspect of lacking documentation of citizenship”), https://daily.sevenfifty.com/how-labor-
challenges-affected-the-2019-grape-harvest/.
50
   ACLU of Oregon, Advocates Ask Oregon Courts to Ban Arrests at Courthouses (Oct. 18,
2019), https://aclu-or.org/en/press-releases/advocates-ask-oregon-courts-ban-ice-arrests-
courthouses.
51
   Casey Parks, 'Everyone is affected.' Immigration raids turn Oregon city into ghost town, The
Oregonian/Oregon Live (Apr. 7, 2017), https://www.oregonlive.com/pacific-northwest-
news/2017/04/woodburn_taught_latinos_to_dre.html (updated Jan. 9, 2019).
52
   See Cole (quoting Reyna López, executive director of the PCUN farmworker union).

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appropriate primary health care to the communities of Washington and Yamhill counties, with a

special emphasis on migrant and seasonal farmworkers and others with barriers to health care. The

health center serves more than 48,500 patients annually at five primary care clinics, a women’s

clinic, six dental clinics, five school-based health centers and through a mobile clinic serving

patients across Washington and Yamhill counties. Virginia Garcia offers medical, dental,

pharmacy, mental health, wellness and outreach services. About 98 percent of its patients come

from low-income households, 24 percent are uninsured, 45 percent are children and their patients

speak over 60 different languages.

       Virginia Garcia’s patients and their families are on the front line of the Administration’s

anti-immigrant actions. Providers report frequent discussions with their immigrant patients related

to the trauma, anxiety and fear they are experiencing in the face of hostile decisions, proclamations

and rhetoric aimed at immigrants in our country. The operators at Virginia Garcia’s call center

report that patients express fear about coming into the clinic for their appointments and others

simply have decided not to seek health care at this point. In one instance, a pregnant woman

eligible for insurance coverage for the birth of her child experienced so much anxiety about the

constantly changing rules and regulations that she opted to forgo health care entirely for her

pregnancy. The Administration’s anti-immigrant attitudes have also emboldened attitudes of

animus the toward Virginia Garcia patients, who describe increasing hostility and confrontation as

they go about their daily lives. Their documentation status does not lessen the impact of these

hurtful attitudes and decisions because anyone who appears to be an immigrant is a target. As a

result, many in the community are fearful of drawing attention to themselves by advocating for

basic human rights, such as access to health care, and against exclusionary immigration policies.



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       Amicus Causa is an organization working to improve the lives of Latino immigrants and

their families in Oregon through advocacy, coalition building, leadership development, and civic

engagement. Latino immigrants and their families are the heart of Causa and inspire, implement,

and champion its work. Founded in 1995 by immigrants, farmworkers, and allies, Causa serves as

a bridge between government processes and community, and works to develop community

leadership.

       Since 2017, Causa has seen a significant spike in family separation through the increased

targeting and deportation of Latino community members. Deportation destabilizes families and

creates further income and housing instability by removing parents from the home, often resulting

in an immediate loss of income. As the President’s policies have rolled out, Causa has received an

increasing number of calls from people afraid that they will be separated by the President's anti-

immigrant policies. Fear and anxiety in the community have skyrocketed as deportations have

increased. The rules proposed by the Trump administration will make, and have already made,

immigrant families in Oregon, regardless of their citizenship status, afraid to seek programs that

help them stay strong and raise children who thrive.

       Amicus Centro Latino Americano (“Centro”) was formed in 1972 by a group of activist

Chicano students from Lane Community College and the University of Oregon to meet the needs

of Mexican immigrant families in Lane County, Oregon. In its pursuit of its mission of

empowering Latino families by providing opportunity and building bridges for a stronger

community, Centro has developed four core programs: social services, mental health therapy,

alcohol and addictions counseling, and youth mentoring services.

        The President’s anti-immigrant policies have increased the fear Centro Latino

Americano’s clients experience on a daily basis. For example, the threat of the proposed public

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charge rule forced many parents’ hands and led them to opt-out from self-sufficiency programs

that are crucial to the health and wellness of their children, many of whom are U.S. citizens. Food

insecurity in Lane County is one of the highest rates in the state, which makes the public charge

proposed rule a much bigger threat. Centro operates a community food pantry to meet the increased

need for access to food, which has become increasingly important as the community it serves fears

accessing food benefits. The Trump administration is willfully choosing to broaden gaps between

the community and available services, forcing organizations like Centro Latino Americano and

113 statewide partners to work even harder to bridge these gaps.

       Amicus the VIVA Inclusive Migrant Network is a nonprofit organization founded in

memory of Denis Moises Escalante Borjas and the many migrant families that lose family

members in the attempt to find freedom in the United States. Denis Moises was murder in El

Salvador in 2016 after he decide to leave the United States out of fear of being detained by ICE.

VIVA Inclusive Migrant Network supports the migrant communities in Oregon. Its mission is to

empower our community, educate, create immigrant right awareness and take actions against

inhumane immigration policies. Viva is deeply concerned with the impact President Trump’s anti-

immigrant policies and rhetoric are having on the community.

       Amicus The Interfaith Movement for Immigrant Justice (IMIrJ) supports and equips

communities and people of faith to advance immigrant justice through direct accompaniment of

immigrants facing detention and deportation, policy advocacy at local, state and national levels,

and prophetic action. IMIrJ is in relationship with faith leaders from more than 140 congregations

throughout the state of Oregon.

       Faith communities that IMIrJ accompanies are directly affected by policies that harm

immigrant communities. Immigrants, many of whom will be prevented from reunifying with their

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families by the Proclamation, are important leaders at IMIrJ and in faith communities throughout

Oregon. The President’s Proclamation that seeks to disrupt the family reunification system will

have a devastating effect on communities of faith with leaders and members that will be prevented

from reunifying because of this policy. Although the communities that IMIrJ accompanies are

diverse in their theology, all hold a deep belief that the full dignity of every person should be

acknowledged. Radically changing our immigration system to favor white wealthy communities

stands opposite to this belief.

       Amicus Adelante Mujeres has a rich history of successfully engaging the low-income

Latino and immigrant community by providing educational resources and acting as a forum for

community advocacy. Adelante Mujeres’ mission is to provide holistic education and

empowerment opportunities to low-income Latina women and their families to ensure full

participation and active leadership in the community. The organization served more than 8,000

individuals in 2017 with comprehensive, life-changing services, including education programs,

youth development, violence reduction programs, and microenterprise business support programs.

        Adelante Mujeres is committed in supporting immigrant families living in Washington

County, which is one of the most diverse counties in the state of Oregon. The Proclamation is yet

another attack on poor immigrant families who might not be able to pass the wealth-based test.

Approximately 98% of the organization’s participants are low or extremely low income making

them highly vulnerable to the current Proclamation. The impact of the Proclamation would

devastate the families that Adelante Mujeres currently work with—families that are already going

through trauma and stress as a result of the anti-immigrant rhetoric and policies of this

administration. If the Proclamation goes into effect, the inability to reunify with loved ones

increases stress levels and will certainly cause adverse health consequences for the women and

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children in its programs. Adelante Mujeres believes that the Proclamation would push immigrant

families to live in limbo and fear, and cause them to refrain from using health services and other

programs it offers that they are eligible for, thus decreasing Adelante Mujeres’ retention rate and

undermining its mission.

       The Immigrant and Refugee Community Organization (“IRCO”) was founded in 1976 with

the mission of promoting the integration of refugees, immigrants, and the community at large into

a self-sufficient, healthy, and inclusive multi-ethnic society. Just as the needs of immigrants and

refugees are multifaceted, so are the culturally and linguistically specific services that IRCO

provides. More than 200 wraparound programs and services aim to lift and stabilize refugees and

immigrants in Oregon at every age and stage of life—from childhood early education services, to

youth after-school activities, employment training, family strengthening, and senior services.

IRCO is rooted in the communities that it serves—its staff is one of the most culturally and

linguistically diverse workforces in Oregon, with more than 500 individuals who collectively

speak 98 languages and represent 73 ethnicities. In fiscal year 2018, IRCO served over 35,000

community members, including those from African, Asian, Indigenous/Native American, Latinx,

Middle Eastern, Native Hawaiian/Pacific Islander, and Slavic communities. IRCO’s growing legal

department provides culturally specific and responsive immigration and disability legal services

to immigrants and refugees, including pro bono removal defense in immigration court.

       The President’s anti-immigrant policies and fear-mongering have been wildly successful

at creating widespread panic and confusion among IRCO’s clients and the community at large.

IRCO’s clients are largely refugees and immigrants and the resultant anxiety and confusion from

policies like the public charge expansion and health insurance ban causes them to cease accessing

much needed public assistance. Worst of all, the most detrimentally impacted members of the

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community are the elderly, disabled, and children—those that are the most likely to need social

services and supports, and who are not usually in charge of seeking public benefits on their own.

IRCO has observed individuals disenrolling from food stamps and opting out of the Affordable

Care Act, students not attending schools for fear of ICE enforcement actions and the possibility of

being deported, and families at risk of losing their housing because of the U.S. Housing and Urban

Development housing ban on immigrants.

       IRCO’s legal program has observed that unnecessarily heightened requirements in

immigration applications and filing fees means that families are either prevented from or overly

burdened when they attempt to bring family members over to the United States under family

reunification, leaving families separated. IRCO has also seen straightforward affirmative visa

applications held up by arbitrary and requests for evidence and denials that unnecessarily consume

the attorneys’ and clients’ time, energy, and resources. As a nonprofit legal department, responding

to these requests and denials eats up the team’s ability to serve the ever-increasing number of low

income and underserved community members at risk under this administration. The communities

that IRCO serves and represents are traumatized and anxious. IRCO’s program staff have been

working unceasingly to inform, prepare, safety plan, demystify, and change the narrative of fear

and harm from this administration for all impacted community members. However, the constant

onslaught is causing severe burnout and direct and vicarious trauma at unprecedented levels among

program staff.

       Amicus Catholic Charities Immigration Legal Services (“Legal Services”) is a nonprofit

legal program providing low-cost consultations and legal representation to immigrants and

refugees throughout Oregon and southwest Washington. It also educates the public, immigrant

communities, and the organizations who serve them to promote justice for all newcomers and

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support conditions for their full participation in American society. Legal Services provides

representation supporting family reunification and assistance to the most vulnerable immigrants

and refugees, including survivors of domestic violence, sexual assault, and human trafficking.

       Legal Services has helped many families that would be adversely affected by the new

proclamation. For instance, the organization has helped clients where the intending immigrant is a

stay-at-home parent and primary caregiver for a disabled U.S. citizen child. Although the

applicant’s spouse had income above the threshold for the public charge rule, buying qualified

health insurance under the proclamation would be prohibitively expensive. Such an applicant

would likely be barred under the new proclamation, with negative consequences for the immigrant

and her U.S. citizen family members.

       Legal Services has found itself increasingly having to tell clients that they should

reconsider applying for certain immigration benefits or attending their consular interviews abroad.

Changes in immigration enforcement policy that would place applicants for immigration benefits

who are found not to qualify in deportation proceedings have forced the organization to reconsider

filing applications such as those for victims of domestic violence and crime. The clients seeking

those benefits are survivors and among the most vulnerable members of our community. The

heightened standards for adjudicating the public charge rule and now the healthcare ban have also

prevented the organization from moving forward with many family reunification cases. The

President’s policies are preventing families from reuniting and forcing others to continue living in

the shadows. Due to the frequent and significant changes, it is almost impossible to tell a client

who is eligible for an immigration benefit today if they will continue to be eligible by the time

their application is adjudicated. Overall, President Trump’s anti-immigrant policies have had a

chilling effect on applications, meaning that organization is unable to help those who previously

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would have sought its services. As people of faith, Legal Services is called to welcome the stranger,

and to stand with our brothers and sisters to oppose this proposal, which would harm families, alter

the face of our nation, and send a signal to immigrants that they are not welcome.

       Amicus El Programa Hispano Católico (“EPHC”) provides culturally specific and

responsive support to the Latino communities in Oregon. The organization has been a member of

the Greater Portland Latinx community for more than 37 years, with a mission to advance racial

equity and social justice in the Latinx community through the power of culture, community, and

self-determination. EPHC serves more than 20,000 people every year through five primary

categories of services: economic opportunity, housing, domestic violence and spousal abuse

intervention and prevention, community health, and education. EPHC’s culturally-specific

approach supports the area’s growing population of Latinx individuals and families through shared

language, experience, and culture. This core level of understanding is critical to forging trusting

relationships with Latinx families, engaging them with services and benefits, and helping them

achieve long-term stability.

       EPHC has seen an increase of fear in its program participants and the clients it serves as a

result of the administration’s anti-immigrant policies. Its clients have expressed a fear of

deportation, fear of applying for social services or filing police reports, and most importantly a

fear of reporting sexual abuse and domestic violence. The organization has also seen a decrease of

applications from participants to access basic housing and food needs for themselves and for their

children who are U.S. citizens. At a time when disparities in health, housing and economic

opportunities are becoming greater, the administration’s anti-immigrant policies are contributing

to the increased marginalization of the most vulnerable people the agency aims serve.



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                                             CONCLUSION

        If allowed to enter into effect, the Proclamation’s impact would be immediate and

devastating to immigrant communities in Oregon and the organizations that serve them. The

reasons provided by the President for eviscerating the family reunification program authorized by

Congress are pretextual and part of a broader and sustained assault on immigrants of color. The

impact of the Proclamation on the Oregon immigrant community is magnified by the cumulative

nature of this assault. Amici urge the court to enjoin the Proclamation.

    DATED this 12th day of November, 2019.

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